Case: 1:12-cv-08617 Document #: 238 Filed: 04/08/19 Page 1 of 1 PageID #:2049

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Elizabeth Nowak, et al.
                                  Plaintiff,
v.                                                    Case No.: 1:12−cv−08617
                                                      Honorable Andrea R. Wood
Barnes & Noble, Inc.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 8, 2019:


        MINUTE entry before the Honorable Andrea R. Wood: The parties having filed a
stipulation of dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) [237], this case is
dismissed with prejudice and with each party to bear its own attorneys' fees and costs. All
pending hearing dates and motions are stricken. Civil case terminated. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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